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ORIGINAL
                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

   UNITED STATES OF AMERICA

                                                       NO. 4:23-CR-333-O

   NADINE MIKKLESON                       (04)

      PLEA AGREEMENT PURSUANT TO FED. R. CRIM. PROC. 11(cX1XC) wlTH
                         WAIVER OF APPEAL

           Nadine Mikkelson ("Defendant"), Derek Brown, Defendant's attomey, and the

   United States of America ("Government"), agree as follows:

           1.      Riehts of Defendant: Defendant understands that Defendant has the right

                   a.      to plead not guilty;

                   b.      to have a trial by jrry;

                   c.      to have Defendant's guilt proven beyond a reasonable doubt;

                   d.      to confront and cross-examine witnesses and to call witnesses in
                           Defendant's defense, and

                   e.      against compelled sel f- incrimination



           2.      Waiver of Rights and Plea of Guilty: Defendant waives these rights and

   pleads guilty to the offense alleged in Count One of the Information, charging a violation

   of 21 U.S.C. $ 846, that is, conspiracy to possess of a controlled substance with intent to

   distribute. Defendant understands the nature and elements of the crimes to which

   Defendant is pleading guilty, and agrees that the factual resume Defendant has signed is

   true and will be submitted as evidence.



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        3.      Sentence: The penalties the Court can impose include

                a.      imprisonment for a period of not more than twenty (20) years;

                b.      a fine not to exceed $ 1,000,000;

                c.      a mandatory term of supervised release of not less than three (3)
                        years, which may be mandatory under the law and will follow any
                        term of imprisonment. If the defendant violates any condition of the
                        term of supervised release, the Court may revoke such release term
                        and require that the defendant serve an additional period of
                        confinement;

                d.      a mandatory special assessment of $100;


                e.      restitution to victims or to the community, which may be mandatory
                        under the law, and which Defendant agrees may include restitution
                        arising from all relevant conduct, not limited to that arising from the
                        offense of conviction alone; and

                f.      costs of incarceration and supervision.



        1.      Court's Sentencing Discretion and Role of the Guidelines: The

Defendant understands that the sentence in this case will be imposed by the Court after

consideration of the United States Sentencing Guidelines. The Defendant has reviewed

the guidelines with his attorney but understands no one can predict with certainty the

outcome of the Court's consideration of the guidelines in this case. Pursuant to Rule

I l(c)(l)(C), FED. R. CRIM. P., the parties agree that the length of any prison term


imposed by the Court in this case should be no greater than one hundred and twenty (120)

months imprisonment. The defendant reserves the right to request a sentence below one

hundred and twenty (120) months, but understands that so long as the Court imposes a

sentence no greater than one hundred and twenty (120) months, this agreement will be




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satisfied. If the Court accepts this plea agreement, this provision is binding on the Court.

Other than the agreed maximum term of imprisonment, the Court remains free to

determine other aspects of the sentence as it deems appropriate. Pursuant to Rule

l1(c)(5), FED. R. CzuM. P., if the Court rejects this plea agreement, Defendant will be

allowed to withdraw his guilty plea. If Defendant declines to withdraw his guilty plea,

the disposition of the case may be less favorable than that contemplated by this

agreement.


        5.      Mandatory special assessment: Defendant agrees to pay to the U.S. District

Clerk the amount of $ 100.00, in satisfaction of the mandatory special assessment in this

case.

        6.      Defendant's agreement: Defendant shall give complete and truthful

information and/or testimony concerning his participation in the offense of conviction

Upon demand, Defendant shall submit a personal financial statement under oath and

submit to interviews by the government and the U.S. Probation Office regarding

Defendant's capacity to satisfy any fines or restitution

        1.      Government's Agreement: The government will not bring any additional

charges against Defendant based upon the conduct underlying and related to the

Defendant's plea of guilty. After sentence is imposed, the government will move to

dismiss any remaining counts against the defendant. This agreement is limited to the

United States Attorney's Office for the Northern District of Texas and does not bind any




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other federal, state, or local prosecuting authorities, nor does it prohibit any civil or

administrative proceeding against Defendant or any property.

        8.      Violation of Agreement: Defendant understands that if Defendant violates

any provision of this agreement, or if Defendant's guilty plea is vacated or withdrawn,

the Government will be free from any obligations of the agreement and free to prosecute

Defendant for all offenses of which it has knowledge. In such event, Defendant waives

any objections based upon delay in prosecution. If the plea is vacated or withdrawn for

any reason other than a finding that it was involuntary, Defendant waives objection to the

use against Defendant of any information or statements Defendant has provided to

Government and any resulting leads.

        9.      Voluntary Plea: This plea of guilty is freely and voluntarily made and is

not the result of force or threats, or of promises apart from those set forth in this plea

agreement. There have been no guarantees or promises from anyone as to what sentence

the Court will impose.

        10. Waiver of risht to aooeal or otherwise challenge sentence: Defendant
waives Defendant's rights, conferred by 28 U.S.C. $ 1291 and l8 U.S.C. g 3742,to

appeal from Defendant's conviction and sentence. Defendant further waives Defendant's

right to contest Defendant's conviction and sentence in any collateral proceeding,

including proceedings under 28 U.S.C. 5 2241and 28 U.S.C. 5 2255. Defendant,

however, reserves the rights (a) to bring a direct appeal of (i) a sentence exceeding the

statutory maximum punishment, or (ii) an arithmetic error at sentencing, (b) to challenge




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the voluntariness of Defendant's plea of guilty or this waiver, and (c) to bring a claim of

ineffective assistance of counsel.

        11. Representation of Counsel: Defendant has thoroughly reviewed all legal
and factual aspects of this case with Defendant's lawyer and is fully satisfied with that

lawyer's legal representation. Defendant has received from Defendant's lawyer

explanations satisfactory to Defendant concerning each paragraph of this plea agreement,

each of Defendant's rights affected by this agreement, and the alternatives available to

Defendant other than entering into this agreement. Because Defendant concedes that

Defcndant is guilty, and after conferring with Defendant's lawyer, Defendant has

concluded that it is in Defendant's best interest to enter into this plea agreement, and all

of its terms, rather than to proceed to trial in this case.

        12. Entiref of Agreement: This document is a complete statement of the
parties' agreement and may not be modified unless the modification is in writing and

signed by all parties




                           [remainder of page left intentionally blank]




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        AGREED TO AND SIGNED         tnirdauy or {-bnrorr               ,2024.

                                         LEI
                                                             ATTORNEY


                     MIKKELSON
D                                        Assistant United States Attorney
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DEREK BROWN                                        LEWIS
Attorney for Defendant                           Crirninal Chief


       I have read (or had read to me) this Plea Agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.


                                          2-2_ot - Zc1
    ADINE            MIKKLESON           Date



      I am the defendant's counsel. I have carefully reviewed every part of this Plea
Agreement with the defendant. To my knowledge and belief, my client's decision to
enter into this Plea Agreement is an informed and voluntary one.


                                            ,l-2, ^2/
DEREK BROWN                              Date
Attorney for Defendant




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